     Case 1:05-cv-00858-JJF           Document 154-2      Filed 06/30/2008       Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

RLI INSURANCE COMPANY,                               )
                                                     )      C.A. No. 05-858 (JFF)
                                                     )
                        Plaintiff,                   )
                                                     )
                        v.                           )      JURY TRIAL DEMANDED
                                                     )
INDIAN RIVER SCHOOL DISTRICT,                        )
EDIS COMPANY, and                                    )
BECKER MORGAN GROUP, INC.,                           )
                                                     )
                        Defendants.                  )


                                            ORDER


           AND NOW, this _____ day of ___________________, 2008, upon consideration of

Plaintiff’s Motion for Reargument (D.I. 149) (the “Motion”), and the response thereto, it is

HEREBY ORDERED AND DECREED that said Motion is DENIED in its entirety.




                                             ___________________________________
                                             The Honorable Joseph J. Farnan, Jr.




65724 v1
